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lN THE UNITED STATES D|STR|CT COURT FlLED B’t) q_£./ D{_

FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

 

UNlTED STATES OF AMER|CA F§)(EEEEBISF<?TU`@ ms

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P|aintiff
VS.
CR. NO. 05-20082-B
RODERCUS FREEMAN (c)

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on March 28, 2005. At that time, counsel for the
defendant requested a continuance of the trial date in order to allow for additional preparation in
the case.

The Court granted the request and reset the trial date to June 6, 2005 with a report date
of Tuesday, |Vlay 31, 2005. A Nlotion to Suppress Evidence was filed and a suppression
hearing/report date was set for lV|ay 26, 2005. Pursuant to Defendant's Motion to Continue, the
suppression hearing/report date was re-set for June 23, 2005.

A |V|otion to Continue is Granted and Sugpressing HearinglReport Date is re-set for
Thursdav. June 30. 2005 at 9:00 a.m., in Courtroom 1. itth F|oor of the Federa| Building,
l\/|emphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18 U.S.C. §
3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to prepare

outweigh the need for a speedy trial

|T IS SO ORDERED this Z_-(:`g day ojz, 2005.

UN|EL BREEN
N| ED STATES DISTRIC JUDGE

This doci_ment entered on the docket sheet ineforglianca
with Fili|e 55 andfor 32ibl FFiCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-20082 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

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